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                                                                                       E-FILED
                                                       Thursday, 05 October, 2006 10:20:06 AM
                                                                 Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS                            -
                                                                  ; l ~ ' r 4 2086
                            SPRINGFIELD DIVISION              JOHN M.WAI'ERS, Clerk
                                                               U.S. DISTRICT COURT
UNITED STATES OF AMERICA,             )                    CENTRAL   DISTRICT OF IUlNOIS
                                      )
           Plaintiff,                 ) Criminal No. 06- 300 71
                                      ) Violation: Title 21, United States
VS.                                   ) Code, Sections 841(a)(l)and
                                      ) 841(b)(l)(A),18 U.S. C. Sections
                                      ) 922(g)(l),and 924(c).
DERRICK R. WALKER,                    )
                                      )
           Defendant.                 1
                                    INDICTMENT

THE GRAND JURY CHARGES THAT:

                                          Count 1
                (Possession With Intent to Distribute Cocaine Base, "Crack")

       On or about September 12,2006, in Jacksonville, in the Central District of Illinois,

the defendant,

                                 DERRICK R. WALKER

knowingly and intentionally possessed with the intent to distribute 50 or more grams of

a mixture or substance containing cocaine base ("crack"), a Schedule I1 controlled

substance.

      All in violation of Title 21, United States Code, Sections 841(a)(l)and

841('4(1)(A).
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                                         Count 2
                           (Possession of a Firearm by a Felon)

       On or about September 12,2006, in Jacksonville, in the Central District of Illinois,

the defendant,

                            DERRICK R. WALKER

having previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess in and affecting commerce firearms,

namely, a loaded 9 mm Accu-Tek pistol, serial number 001010, a loaded Taurus .25

caliber semi-automatic pistol, serial number DXL41719, and a Llama .22 caliber semi-

automatic pistol, serial number 548578.

       In violation of Title 18, United States Code, Sections 922(g)(1)and 924(a)(2).


                                       Count 3
      (Carrying of a Firearm During and in Relation to a Drug Trafficking Offense)


       On or about September 12, 2006, in Jacksonville, in the Central District of Illinois,

the defendant herein,

                                 DERRICK H. WALKER

knowingly carried firearms, namely a loaded 9 rnrn Accu-Tek pistol, a loaded Taurus

.25 caliber semi-automatic pistol, and a .22 caliber Llama semi-automatic pistol during

and in relation to a federal drug trafficking crime, namely, the possession with intent to

distribute cocaine base, "crack," as charged in Count One of this Indictment.

       In violation of Title 18 Unites States Code, Section 924(c)(l)(A)(i).
        3:06-cr-30071-SEM-BGC # 5   Page 3 of 3



                                           A TRUE BILL,

                                                  n

                                        slforeperson      -
                                       '-' FOREPERSON
IC\/   s1Greg Harris
